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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


    In re:                                          Chapter 11

    Citadel Watford City Disposal Partners,         Case No. 15-11323 (LSS)
    L.P., et al., 1

                              Debtors.

    Gavin/Solmonese, Liquidation Trustee for
    the Citadel Creditors’ Grantor Trust,
    successor to Citadel Watford City Disposal
    Partners, L.P., et al.,

                              Plaintiff,

                       v.                          Adv. Pro. No. 17-50024 (LSS)

    Citadel Energy Partners, LLC, et al.,

                               Defendants.



                          MOTION FOR SUMMARY JUDGMENT
                  ON BEHALF OF DEFENDANT JONATHON P. REUBEN, C.P.A.

             Pursuant to Federal Rule of Civil Procedure 56(a) and Federal Rule of Bankruptcy

Procedure 7056, Jonathon P. Reuben, C.P.A. moves for a summary judgment based on the

proposition that the Trustee will not be able to establish a prima facie case of professional

negligence against Reuben because of the Trustee’s failure to obtain an expert witness on

liability issues.




1
 The Debtors and the last four digits of their respective tax identification numbers are: Citadel
Energy Services, LLC (7762); Pembroke Fields, LLC (0341); Citadel Energy SWD Holdings,
LLC (5266); Citadel Watford City Disposal Partners, LP (1520). The mailing address for each
Debtor is c/o Gavin/Solmonese LLC, Liquidation Trustee, 919 N. Market St., Suite 600,
Wilmington, DE 19801.
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        Reuben’s Opening Brief in Support of his Motion is filed simultaneously herewith.



 DATED: Wilmington, Delaware                        ELZUFON AUSTIN & MONDELL, P.A.
        June 19, 2019
                                                    /s/ John A. Elzufon
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